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                      EXHIBIT 1
                                                 49001 -1 905-p|_-o1 7966                                   Filed: 5/2/2019 11:48   AM
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                           Marion Superior Court,             1-1 filed 05/14/19 page 2 of 35
                                                  Civil Division             1                               Marion County, Indiana




                        INDIANA COMMERCIAL                                        COURT
STATE OF INDIANA                       )                  IN   THE MARION SUPERIOR COURT
                                       )   SS:
COUNTY OF MARION                       )                  CAUSE NO:

ROBIN BARNEY,                                             )

                                                          )

           Plaintiff,                                     )

                                                          )

           v.                                             )

                                                          )
ZIMMER BIOMET HOLDINGS, INC,                              )

                                                          )
           Defendant.                                     )



                          COMPLAINT AND DEMAND FOR JURY TRIAL

           Plaintiff Robin   Barney (“Barney”), by counsel, ﬁles           this   Complaint and   Demand   for Jury


Trial against    Defendant Zimmer Biomet Holdings,               Inc.   (“Zimmer Biomet”) pursuant     to Indiana


state   common     law.


                          I.           PARTIES, VENUE,           AND JURISDICTION
           1.      Barney      is   a citizen of Indiana and resident 0f Syracuse, Kosciusko County,


Indiana.


           2.      Zimmer Biomet           is    a domestic corporation organized and incorporated under the


laws 0f Delaware With           its   principal place of business located in         Warsaw, Kosciusko County,

Indiana.


           3.      Pursuant to Rule 2 of the Interim Commercial Court Rules, this case              is eligible   for


assignment t0 the Commercial Court Docket, and venue                         is   proper in the Marion County


Commercial Court.

           4.      Barney    initially     ﬁled an action in the United States District Court for the Northern


District    of Indiana, South Bend Division, under Cause No. 3:17-cv-616, bringing federal law
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claims under the Equal Pay Act, 29 U.S.C. § 206(d), and Title VII of the Civil Rights Act of


1964, as amended, 42 U.S.C. § 20006 et seq., and including her related state law claims (breach


of contract and wrongful constructive discharge) pursuant t0 supplemental jurisdiction.


        5.          On November          26, 2018, the Northern District Court dismissed Plaintiff’s state


law breach of contract claim related               to her   employment agreement, and        state   law wrongﬁJI

constructive discharge claim, Without prejudice. Barney’s federal law claims remain pending in


the Northern District of Indiana.


        6.          Plaintiff   now    brings her state law claims, Which were dismissed from her federal


case Without prejudice, in this Court.


        7.          Pursuant to Ind. Code § 34-1 1-8-1, Plaintiff’s claims are timely because they have


been brought Within three              (3) years after the date   0f the Northern District Court’s dismissal,


without prejudice.


                                        II.      FACTUAL ALLEGATIONS

                                                     Background

        8.          Barney hereby incorporates by reference          all   other paragraphs of this Complaint as


if fully set forth here.



        9.          Barney became the Senior Vice President 0f Operations of Biomet,                      Inc.   on

September     2,   2008.


        10.         On     September      2,   2008, Barney entered into an Employment Agreement with


Biomet,   Inc.,    attached hereto as Exhibit A.


        11.         Biomet,     Inc.    merged with Zimmer Holdings,           Inc. t0   become Zimmer Biomet

Holdings, Inc. (“Zimmer Biomet”) on June 24, 2015.
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       12.       As    a result of the merger, Barney           became   the Senior Vice President of Global


Operations and Logistics      at   Zimmer Biomet.

                                            Relocation t0 Switzerland


       13.       Around August 0f 2016, Zimmer Biomet’s Senior Vice President of Human

Resources, Bill Fisher, informed Barney that her job would be                moved from Warsaw,        Indiana t0


Switzerland, requiring her relocation         by the end 0f 2017.

       14.       On    September      9,    2016,    Zimmer Biomet’s Senior Vice          President 0f    Human

Resources, Bill Fisher, asked Barney Whether she would in fact relocate to Switzerland,


indicating that the Chief Executive         Ofﬁcer needed an answer. Barney stated         that she   needed time

to think about   it.




       15.       Barney’s Employment Agreement With Biomet, Inc. includes a change in control


provision,    which    entitles    Barney    to   a substantial payout should she be terminated           by   the


company without “Cause,”             or terminate her      own employment       for   “Good Reason” (which

includes a relocation 0f her primary         work    location   more than 50 miles away), Within two years 0f

the June 24, 2015, change in control event at Biomet.


       16.       Barney     later    informed Zimmer Biomet’s Senior Vice President of                    Human

Resources that she did not Wish to relocate t0 Switzerland, and was                   left to   conclude that her


employment would        therefore be terminated before the end 0f 2017, and that the             company would

pay her the   lucrative severance     package provided for in her Employment Agreement, in the event

0f a mandatory relocation within two years 0f a Change In Control Event.


                                                    FDA Inspection

       17.       On    September     12,   2016, the U.S. Food and Drug Administration (“FDA”) began


an inspection 0f Zimmer Biomet’s Warsaw North Campus (the “North Campus”).
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        18.   It was clear after the first few weeks of the FDA inspection that it was not going

well.

        19.   Barney’s working conditions became increasingly intolerable. For example, Dave

Kunz, Zimmer Biomet’s SVP of Global Quality and Regulatory Affairs (“Kunz”), was having

shouting matches with Barney regularly, and openly blaming her for FDA inspection issues,

accusing her of not holding people accountable, and questioning her judgment and clear

thinking.

        20.   On or about September 29, 2016, the company shut down production from the

North Campus, in order to satisfy the FDA that progress was being made toward resolving issues

from initial audit findings and to accelerate remediation efforts. Barney openly disagreed with

this action. Kunz gained Dvorak’s approval to shut down production of the North Campus over

Barney’s objections.

        21.   On Friday, October 21, 2016, Dvorak coached Barney to implement personnel

changes within her organization, describing them as adjustments that were needed in light of the

specific circumstances presented by the North Campus and the FDA inspection.

        22.   Less than twenty-four hours after the coaching session, by email message on

Saturday, October 22, 2018, Dvorak asked Barney for a description of the organizational changes

she planned to make to address North Campus matters. Dvorak described the organizational

changes as “necessary” and specifically linked them to the company’s anticipated response to an

inquiry from the FDA in the context of the inspection.

        23.   On October 26, 2016, Dvorak again contacted Barney asking for an update on the

“organizational changes” that he was pushing her to make, and he notified Fisher of his follow

up with Barney on that topic.



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       24.     Later on October 26, 2016, Barney communicated her proposed organizational

changes to Dvorak, Fisher and others, via email. Barney proposed a reorganization that moved

personnel into different roles and responsibilities, but did not include terminations “for cause” of

any employees in her reporting structure.

       25.     After Barney communicated her proposed organizational changes, at 5:31 a.m. on

October 28, 2016, Fisher told her not to implement any changes within her organization until

Dvorak reviewed them.

       26.     Later the same day, October 28, 2016, Fisher also told Barney that Dvorak had

responded with feedback that he “continues to want accountability,” which Barney understood to

mean that only terminations of personnel “for cause” would be sufficient to satisfy Dvorak.

Barney further understood that Dvorak wanted terminations that could be reported to the FDA as

holding employees accountable for the inspection findings.

       27.     By this time, Barney had been made aware that Kunz was moving forward with

terminations of Rex White (Vice President of Quality Assurance) and Rich Castaneda (Quality

Assurance Director) on October 28, 2016.

       28.     Finally, Fisher informed Barney that Dvorak likely would not have time to

discuss these organizational changes in the next few days, but would have that conversation at

the performance discussion set for November 2, 2016, after the investor call.

       29.     On Friday, October 28, 2016, Dvorak called Barney’s cellular telephone and

instructed Barney to make immediate, significant organizational changes within Operations, to

address issues raised in the ongoing FDA audit.

       30.     Dvorak ordered Barney to make “significant organizational changes”, meaning to

terminate employees in her reporting structure, so that the company could point to those



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terminated employees as people who were accountable for problems identified in the FDA

inspection.

       31.     Barney refused to terminate any employees for cause as a result of the FDA audit,

because it would result in employees being terminated “for cause” under a false pretext and

would be a material misrepresentation to the FDA.

       32.     Based upon what she had been instructed to do by the Chief Executive Officer in

response to the ongoing FDA audit, Barney reasonably expected that if she complied with the

instruction to terminate employees “for cause” in response to the FDA audit, when there was no

basis for a “for cause” termination of those employees related to the issues uncovered by the

FDA audit, she could be personally and criminally liable for making a false representation to the

FDA under 18 U.S.C. § 1001(a).

       33.     Dvorak stated that he was not happy with Barney’s refusal. This conversation and

related email messages from Fisher and Dvorak, conveyed to Barney that the matter would be

discussed further during the in-person “performance discussion” between Dvorak and Barney set

for Wednesday, November 2, 2016, after the investor call.

       34.     Based upon her prior interactions with Dvorak, Barney understood that if she did

not take immediate action to terminate employees under a false pretext in response to the FDA

audit, she would be fired as soon as Dvorak had a chance to speak with her after the investor call.

       35.     Kunz informed the FDA auditors, during the next opening audit meeting, that

significant organizational changes had been made by the company, holding people accountable

for the audit results to date. In that meeting, he included the terminations of Rex White, Rich

Castaneda, and Robin Barney as examples of the organizational changes made. The company




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represented to the    FDA        that   it   made         these organizational changes to address the                  FDA    audit


ﬁndings.


                                                   O3 2016 Investor            Call


         36.     On   or about October 25, 2016,                   Zimmer Biomet’s Chief Financial Ofﬁcer Daniel

Florin (“Florin”)   demanded          that   Barney concoct a “story” about the root cause of the 2016 Q3

shortfalls in sales, t0   mislead       Zimmer Biomet              investors   0n an upcoming investor          call that    would

take place the next week, on          Monday, October              31, 2016.


         37.     Florin asked Barney t0 create a story to                        show     that the    Q3    sales shortfall    was

sudden and unanticipated, t0 blame                   it   0n supply chain       issues,      and   t0 explain   why    it   was not

disclosed to investors sooner.


         38.     The Q3     sales shortfall               was no   surprise    and was not unanticipated, based upon

weekly reports   t0 the Operating            Committee about supply chain                 issues,    and several audits Which

had been conducted within the previous 12 months.

         39.     Florin also stated that he wanted t0 remain silent                          on the upcoming     call   about the


FDA   audit,   meaning    that   Zimmer Biomet would                   not inform investors about the ongoing                 FDA

inspection, even though          it   began during Q3, and even though the company had ordered a

complete shutdown of production               at   North Campus during Q3.

         40.     Barney    felt that failure to             disclose the   FDA       audit   0n the investor    call   would   also


amount     to a material misrepresentation,                   as the audit      had caused a complete disruption                 in


production and sales.


         41.     Based upon What she had been instructed                        to    do by the Chief Financial Ofﬁcer in

preparation for the   Q3    earnings         call,   Barney reasonably expected               that if she   complied with the


instruction to mislead investors, she could                   be personally      liable for Violations       of Sections 10(b)
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and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated

thereunder by the         SEC   (17 C.F.R. § 240.10b-5).


          42.      Barney refused           to    participate     in   making material misrepresentations            to   the


investors,   and   left   the meeting.


          43.      Barney believes         that   Dvorak   also   knew about her refusal    to create a false narrative


for the   upcoming investor        call,   because 0f Dvorak’s close working relationship with Florin and


her regular one-on-one meetings with Dvorak, during which the well-known issues at the North


Campus were        discussed.


          44.      On     the October 31, 2016, investor call,             Dvorak and Florin did not mention              the


FDA   audit,    and represented       that the      Q3   sales shortfall    was   the result of unanticipated supply


chain issues.


                                            Barnev’s Forced Resignation

          45.      Based upon the way she was being treated by Dvorak, Florin and Kunz, Barney

experienced trouble eating, trouble sleeping, episodes 0f crying, and extreme anxiety, to the


point where she sought help from an                Employee Assistance Program counselor            in   October 2016.


          46.      Based 0n Dvorak’s treatment of her, Barney reasonably expected                         that she   would

be ﬁred during the scheduled November                    2,   2016, meeting, for refusing the      CEO’S     directive to


terminate employees in her reporting structure under false pretenses, and for refusing the                           CFO’s

directive t0 concoct a story about “unanticipated” supply chain issues to mislead investors.


          47.      Barney reasonably believed              that   Dvorak was waiting      until after the    October 31,


2016, investor      call to     ﬁre her, in order t0 use her as a scapegoat              When   the call    went poorly.

Barney also reasonably believed             that she   would be terminated        shortly after the call.
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        48.    The work conditions for Barney at Zimmer Biomet had become so intolerable that

Barney had no other option, but to resign. She had been placed in the impossible position of

sticking around long enough to be implicated in securities fraud, and then being fired, or

resigning before the October 31, 2016, investor call.

        49.    Barney felt that she had no choice but to resign, or be forced to participate in

unethical and fraudulent business practices, potentially exposing herself to personal legal

liability.

        50.    On October 28, 2016, Zimmer Biomet terminated two other senior leaders (Rex

White and Rich Castaneda).

        51.    After her morning telephone call with Dvorak, later the day of October 28, 2016,

Barney submitted her two-week’s notice of “resignation” via email, which would be effective

November 11, 2016.

        52.    In Barney’s “resignation” email, she states that the “current issues at North

Campus are not the ‘fault’ of one individual or organization.” Rather, the issues were well

known to senior management soon after the close of the merger, and were “further understood

and documented via several audits over the last 12 months.”

        53.    Barney was constructively discharged and forced to resign from Zimmer Biomet,

effective November 11, 2016, instead of being fired and possibly prosecuted for securities fraud

and/or making false statements to the FDA.

        54.    It was well known by other employees within Zimmer Biomet that, although

Barney submitted her own resignation, she did not truly resign, but was forced out of the

company.




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           55.     After the    FDA    inspection concluded in         November, 2016, Zimmer Biomet

provided a written response t0 the         FDA’S 483   inspection ﬁndings    —   the   “FDA   Letter”.    The   FDA

Letter speciﬁcally identiﬁed      Barney     as a reason for the   poor quality culture   at that site.    She was

the   most senior executive speciﬁcally named          in that   document, and the company noted that             it




chose t0 replace her with a legacy      Zimmer employee.

           56.     Barney’s Employment Agreement includes a change in control provision, which


entitles    Barney   to a substantial      payout should she be terminated by the company without

“Cause,”
           9
               0r terminate her   own employment       for   “Good Reason”       (including being required t0


relocate), Within    two years 0f the June 24, 2015, change        in control event at Biomet.


           57.     At   the time of Barney’s termination,     Barney had “Good Reason”          to terminate her


own employment,         pursuant to her Employment Agreement.


           58.     Zimmer Biomet      did not have “Cause,” as deﬁned in the           Employment Agreement,

to terminate     Barney’s employment.


           59.     Zimmer Biomet       constructively discharged Barney, effectively terminating her


employment Without “Cause,” despite her apparent             resignation.


           60.     Zimmer Biomet      refused to provide any severance pay 0r beneﬁts to Barney upon


her termination, claiming that the change in control provision in Barney’s                          Employment

Agreement only applies        if Barney is   terminated by the company.


           61.     Barney requested severance pay and beneﬁts and requested an agreement from

the   company providing those beneﬁts.            The company refused       t0 provide a release         agreement


providing for the beneﬁts and incorporating a release 0f claims from Barney.


                                    III.      LEGAL ALLEGATIONS

                        COUNT I: Breach of Contract — Emplovment Agreement


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           62.     Barney hereby incorporates by reference        all   other paragraphs of this Complaint as


if fully set forth here.



           63.     Zimmer Biomet,       in forcing   Barney   to terminate    employees under   false pretexts


and   to   make   material misrepresentations to investors, left Barney with n0 other choice, but t0


resign.


           64.     Repeatedly informing Barney that she would be required to relocate her family


from Indiana      to Switzerland left   Barney with no other choice, but      t0 resign.


           65.     Barney was constructively discharged from Zimmer Biomet, Without cause,

effective   November     11, 2016.


           66.     The termination of Barney’s employment               also constitutes a termination   by   the


Executive for     Good Reason,     Within the meaning 0f Barney’s employment agreement.


           67.     The termination of Barney’s employment occurred Within two years following a

“Change of Control,”       as   deﬁned by Barney’s employment agreement.

           68.     Zimmer Biomet breached Barney’s employment agreement by                  failing t0 provide


her “Change 0f Control Severance Benefit” resulting from                     Zimmer Biomet’s     constructive


termination 0f her employment.


           69.     Zimmer Biomet breached Barney’s employment agreement by                  failing t0 provide


her “Change 0f Control Severance Benefit” resulting from Barney’s termination 0f employment


for   “Good Reason.”

           70.     Zimmer Biomet never provided Barney With                  a release agreement t0 sign in


connection With her requests for Change in Control Severance Beneﬁts.


           71.     Barney has suffered damages       as a result of Zimmer Biomet’s breach.


                            COUNT II:        Wrongful Constructive Discharge



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        72.     Barney hereby incorporates by reference all other paragraphs of this Complaint as

if fully set forth here.

        73.     Zimmer Biomet created a hostile work environment by ordering Barney to assist

in materially misleading investors, which could subject her to personal criminal and/or civil

liability.

        74.     Zimmer Biomet continued to create a hostile work environment by repeatedly

demanding that Barney terminate employees under her supervision under a false pretext.

        75.     Zimmer Biomet continued to create a hostile work environment by pressuring

Barney about sales and product shipments during the FDA audit of the North Campus when by

the end of September, all production had to be shut down in response to FDA findings.

        76.     By October 28, 2016, the work conditions for Barney at Zimmer Biomet had

become so intolerable that Barney had no other option, but to resign. She had refused an order to

mislead investors and commit securities fraud.

        77.     By October 28, 2016, Barney had refused an order to terminate employees “for

cause” when those employees had done nothing to warrant termination for cause. Barney

understood, based on communications from Dvorak and Fisher, that the company wanted her to

terminate employees “for cause” to show “accountability” to the FDA for problems identified in

the FDA inspection.

        78.     Zimmer Biomet created a hostile work environment by ordering Barney to

terminate employees “for cause” to show accountability to the FDA for the audit, which could

subject her to personal criminal and/or civil liability for making misrepresentations to the FDA.




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       79.     Barney reasonably expected to be terminated at the scheduled November 2, 2016,

meeting, for refusing to comply with these direct orders from the Chief Financial Officer and

Chief Executive Officer.

       80.     Barney had no other option, but to comply with the orders of Zimmer Biomet’s

CEO, the highest level officer in the company, or to resign from employment before the investor

call took place on October 31, 2016.

       81.     Dvorak had effectively communicated that if Barney did not comply with the

directives of the CFO and CEO, she would be fired.

       82.     Barney was constructively discharged when she was forced to either resign, or

participate in a fraudulent scheme which could expose her to potential personal liability.

       83.     Barney was constructively discharged for her refusal to assist in making material

misrepresentations to investors which violated public policy.

       84.     Barney was constructively discharged for her refusal to comply with instructions

to wrongfully terminate employees “for cause” to show the FDA that the company was holding

employees “accountable.”

       85.     Zimmer Biomet’s own corporate response to the FDA audit clearly identifies

Barney as a reason for the poor FDA results. Zimmer Biomet clearly intended to terminate

Barney’s employment.

       86.     Barney has suffered damages as a result of this wrongful discharge.

                                IV.     RELIEF REQUESTED

       Barney requests the following relief:

               a.     All wages and other economic benefits lost as a result of Defendant’s

                      unlawful actions, including, but not limited to, severance pay;



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                   b.       Compensatory damages;

                   c.       Liquidated damages;


                   d.       Punitive damages;


                   e.       Damages   for emotional distress, mental anguish,       and pain and suffering;

                   f.       A11 costs and reasonable attorney fees incurred in litigating this action;


                   g.       Pre-judgment and post-judgment     interest;   and

                   h.       Any and all   other legal and/or equitable relief to which Barney     is entitled.



                                                    Respectfully submitted,




                                                    /s/ Kathleen A.   DeLanev
                                                    Kathleen A. DeLaney (#1 8604-49)
                                                    Annavieve C. Conklin (#33875-32)
                                                    Attorneysfor PlaintzﬂRobin Barney
DELANEY & DELANEY LLC
3646 N. Washington Blvd.
Indianapolis,     IN 46205

                                              JURY DEMAND

           Plaintiff,   Robin Barney, by counsel, hereby demands a          trial   by jury on   all   issues so


triable.



                                                    Respectfully submitted,




                                                    /s/ Kathleen A.   DeLaneV
                                                    Kathleen A. DeLaney (#1 8604-49)
                                                    Annavieve C. Conklin (#33875-32)
                                                    Attorneysfor Robin Barney




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                                                                                            Civil Division   1                                         Marion County, Indiana

                                                                                                                                                          Exhibit 10.18

                                                                     EMPLOYMENT AGREEMENT
        This    EMPLOYMENT AGREEMENT (“Agreement”), dated as 0f September 2, 2008                                 (the “Effective Date”),     is   made by and
between Biomet,        Inc.,   an Indiana corporation (the “C0mp_any”), and Robin               T.   Barney (the “Executive”).

        WHEREAS, the Company desires t0                   engage the Executive, and the Executive desires t0 be engaged by the Company, as Senior Vice
President 0f Operations, Biomet Inc.; and


        WHEREAS, the Company and the Executive                      desire t0 enter into this   Agreement    t0 set out the terms   and conditions for the
employment relationship 0f the Executive with the Company;

        NOW, THEREFORE,                  in consideration   0f the mutual covenants and agreements          set forth herein   and for other good and valuable
consideration, the receipt and sufﬁciency 0f Which hereby are acknowledged, the parties hereto agree as follows:


        1.   Emplovment Agreement. On             the terms and conditions set forth in this Agreement, the          Company      agrees t0 employ the Executive
and the Executive agrees             be employed by the Company for the Employment Period set forth in Section 2 and in the positions and with
                                    t0

the duties set forth in        Section 3. Terms used herein with initial capitalization not otherwise deﬁned are deﬁned in Section 23.


        2. Te_rm.   The term of employment under this Agreement shall be for a three-year period commencing 0n the Effective Date
                          initial

                  The term 0f employment shall be automatically extended for an additional consecutive 12-month period (the
(the “Initial Term”).
“Extended Term”) 0n the ﬁrst anniversary 0f the Effective Date and each subsequent anniversary 0f the Effective Date, unless and until
the   Company       0r Executive provides written notice t0 the other party in accordance with Section 11 hereof not less than 90 days before
such anniversary date that such party             is   electing not t0 extend the term 0f employment under this            Agreement (“Non-Renewal”),        in   which
case the term 0f this Agreement shall end as 0f the end 0f such Initial                    Term 0r Extended Term,     as the case   may be,   unless sooner
terminated as hereinafter set forth. Such              Initial   Term and   all   such Extended Terms are collectively referred t0 herein as the “Employment
Period.”


        3.   Position and Duties. During the           Employment     Period, the Executive shall serve as Senior Vice President 0f Operations,             Biomet
Inc. In      such capacity, the Executive shall report t0 the Company’s Chief Executive Ofﬁcer. During the Employment Period, the Executive
shall   have the powers and authority customarily exercised by individuals serving as Senior Vice President 0f Operations 0f a company 0f
the size and nature 0f the Company. The Executive shall devote the Executive’s reasonable best efforts and full business time t0 the
performance 0f the Executive’s duties hereunder and the advancement 0f the business and                          affairs   0f the Company; provided that the
Executive shall be entitled t0 serve as a              member 0f the board 0f directors 0f another company approved by the              Board, t0 serve 0n civic,
charitable, educational, religious, public interest 0r public service boards                   approved by the Board, and t0 manage the Executive’s personal
and family investments,          in   each case, t0 the extent such      activities    d0 not, individually 0r in the aggregate, materially interfere with the
performance 0f the Executive’s duties and responsibilities hereunder.
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       4.   Place of Performance. During the                 Employment         Period, the Executive shall be based primarily at the principal executive ofﬁces 0f
the   Company       in   Warsaw, Indiana, except for reasonable                 travel    0n the Company’s business consistent with the Executive’s          position.


       5.   Compensation and Beneﬁts

              (a)   Base Compensation. During the Employment Period, the Company                      shall pay t0 the Executive a base salary (the              “M
       Salagy”) at the rate 0f no less than $275,000 per year.                     The Base Salary   be reviewed for increase by the Company n0 less
                                                                                                         shall

       frequently than annually and shall                  be increased in the discretion 0f the Company and any such adjusted Base Salary shall constitute
       “Base Salary” for purposes 0f this Agreement. The Base Salary                            shall   be paid in substantially equal installments in accordance with
       the   Company’s regular payroll procedures.

              (b)   Annual Bonus. The Executive                    shall   be given the opportunity t0 earn an annual incentive bonus for each ﬁscal year that ends
       during the   Employment Period in accordance with the annual bonus plan generally applicable t0 the Company’s executive ofﬁcers,
       as the   same may be in effect from time t0 time (the “Annual Plan”). The Executive’s target annual incentive bonus opportunity under
       the   Annual Plan      shall   be n0       less   than   80%   0f the Executive’s Base Salary for on-target performance with the possibility 0f exceeding
       80%    for high achievement.            The                 amount payable
                                                              t0 the Executive as an annual bonus under the Annual Plan shall be dependent
                                                         actual
       upon the achievement 0f performance objectives established in accordance with the Annual Plan by the Board 0r the compensation
       committee 0f the Board (0r its successor committee) (the “Compensation Committee”). Any bonus payable pursuant t0 this
       Section 5(b) shall be paid at the same time annual bonuses are payable t0 other ofﬁcers 0f the Company in accordance with the terms
       0f the Annual Plan.

              (c) Vacation'     Beneﬁts. During the Employment Period, the                       Company         shall provide t0 the   Executive employee beneﬁts and
       perquisites       0n a basis   that   is   n0     less favorable     than that provided t0 other senior ofﬁcers 0f the Company, including participation in
       the   Company’s deferred compensation plan (if any), as in effect from time t0 time. Subject t0 the terms 0f this Agreement, all
       beneﬁts are provided  at the Company’s sole discretion. Subject t0 the terms 0f this Agreement, the Company shall have the right t0

       change insurance        carriers      and       t0 adopt,   amend, terminate 0r modify employee beneﬁt plans and arrangements                 at   any time and
       without the consent 0f the Executive.

       6.   Expenses. The Executive               is   expected and    is   authorized t0 incur reasonable expenses in the performance 0f her duties
hereunder.    The Company         shall      reimburse the Executive for            all   such expenses reasonably and actually incurred in accordance with policies
Which may be adopted from time                    t0   time by the    Company promptly upon periodic              presentation   by the Executive 0f an itemized account,
including reasonable substantiation, 0f such expenses.
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      7.   Conﬁdentialim Non-Disclosure and Non-Competition Agreement. The Company and the Executive acknowledge and agree                                                    that
during the Executive’s employment with the Company, the Executive Will have access t0 and                                    may   assist in   developing      Company
Conﬁdential Information and Will occupy a position 0f trust and conﬁdence with respect t0 the Company’s                                        affairs   and business and the
affairs   and business 0f the Company’s Afﬁliates. The Executive agrees that the following obligations are necessary                                      t0 preserve the
conﬁdential and proprietary nature 0f Company Conﬁdential Information and t0 protect the                                   Company and         its   Afﬁliates against harmful
solicitation   0f employees and customers, harmful competition and other actions by the Executive that would result in serious adverse
consequences for the    Company and its Afﬁliates:
               (a)   Non-Disclo sure. During the Executive’s employment with the Company and                               thereafter, the   Executive Will not knowingly
      use, disclose 0r transfer         any Company Conﬁdential Information other than as authorized in writing by the Company or within
      Executive’s good faith           interpretation 0f the scope 0f the Executive’s duties. Anything herein t0 the contrary notwithstanding, the
      provisions 0f this Section 7(a) shall not apply                  (i)   when     disclosure   is   required by law 0r by any court, arbitrator, mediator 0r
      administrative 0r legislative          body (including any committee                  thereof) with actual 0r apparent jurisdiction t0 order the Executive t0
      disclose 0r      make    accessible any information; 0r              (ii)    t0 information that     becomes generally known       t0 the public 0r within the relevant

      trade 0r industry other than due t0 the Executive’s Violation 0f this Section 7(a).

           (b) Materials. The Executive Will not remove any Company Conﬁdential Information 0r any other property 0f the Company 0r
      any 0f its Afﬁliates from the Company’s premises 0r make copies 0f such materials except for normal and customary use in the

      Company’s           business.   The Company acknowledges                     that the Executive, in the ordinary course      0f her duties, routinely uses and stores
      Company         Conﬁdential Information             at    home and     other locations.      The Executive    Will return t0 the   Company        all   Company
      Conﬁdential Information and copies thereof and                         all   other property 0f the     Company    0r any 0f its Afﬁliates at any time        upon the
      request 0f the        Company and          in   any event promptly after termination 0f Executive’s employment. The Executive agrees t0 attempt in
      good     faith t0 identify      and return       t0 the   Company any          copies 0f any      Company Conﬁdential     Information after the Executive ceases t0
      be employed by the Company. Anything t0 the contrary notwithstanding, nothing in this Section 7 shall prevent the Executive from
      retaining a home computer, papers and other materials 0f a personal nature (including diaries and calendars), information relating t0
      her compensation 0r relating t0 reimbursement 0f expenses, information that she reasonably believes                                      may be needed      for tax
      purposes, and copies 0f plans, programs and agreements relating t0 her employment.

               (c)   N0   Solicitation or Hiring 0f Emplovees.                During the Non-Compete Period, the Executive               shall not solicit, entice,     persuade 0r
      induce any individual           who    employed by the Company 0r any 0f its Afﬁliates (0r who was so employed within 180 days prior t0
                                            is

      the Executive’s action) t0          terminate 0r refrain from continuing such employment 0r t0 become employed by 0r enter into contractual
      relations with        any other individual 0r            entity other than the      Company        0r any 0f its Afﬁliates, and the Executive shall not, directly 0r
      indirectly, hire, or participate in the hiring, as               an employee, consultant 0r otherwise, any such Person.

                                                                                               3
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     (d)   Non-Competition.

            (i)    During the Non-Compete Period, the Executive               shall not, directly 0r indirectly,            (A)   solicit 0r   encourage any client 0r
     customer 0f the        Company      0r any 0f its Afﬁliates, 0r any Person         who was        a client 0r customer within 180 days prior t0
     Executive’s action t0 terminate, reduce 0r alter in a               manner adverse       t0 the   Company, any          existing business arrangements with
     the   Company        0r any 0f its Afﬁliates 0r t0 transfer existing business from the               Company       0r any 0f its Afﬁliates t0 any other
     Person, (B) provide services t0 any entity that competes with theCompany 0r its Afﬁliate in the United States 0r any other
     jurisdiction inwhich the Executive has any responsibility during her employment hereunder 0r that provides a product 0r
     service competitive with any product 0r service provided by the Company 0r its Afﬁliate 0r (C) own an interest in any entity
     described in subsection (B) immediately above; provided, however, that Executive may own, as a passive investor, securities 0f
     any such      entity that has outstanding publicly traded securities so long as her direct holdings in                         any such     entity shall not in the
     aggregate constitute more than           2% 0f the voting power 0f such entity.      The Executive agrees that, before providing services,
     whether as an employee 0r consultant, t0 any entity                 during the Non Compete Period, she Will provide a copy 0f this Agreement
     t0   such entity and acknowledge, t0 the          Company         in writing, that she has    done    so.   Notwithstanding the foregoing, nothing in
     this Section        7 shall prevent the Executive from providing services t0 a division 0r a subsidiary 0f an entity that does not
     compete with the Company 0r any 0f its Afﬁliates and that does not provide products 0r services competitive with products 0r
     services provided by the Company 0r any 0f its Afﬁliates even if other divisions 0r subsidiaries 0f that entity compete with the
     Company        so long as the Executive does not have any managerial 0r supervisory authority with respect t0 such competitive
     division 0r subsidiary.          The Executive acknowledges          that this covenant has a unique, very substantial                and immeasurable value          t0

     the   Company,        that the Executive has sufﬁcient assets         and   skills t0   provide a livelihood for the Executive while such covenant
     remains in force and        that, as a result   0f the foregoing, in the event that the Executive breaches such covenant, monetary
     damages would be an insufﬁcient remedy                  for the   Company and      equitable enforcement 0f the covenant                   would be   proper.   The
     Executive further covenants that she shall not challenge the reasonableness 0f any 0f the covenants                                  set forth in this Section 7,

     but reserves the right t0 challenge the Company’s interpretation 0f such covenants.

            (ii)   If the restrictions contained in Section 7(d)(i) shall            be determined by any court 0f competent jurisdiction t0 be
     unenforceable by reason 0f their extending for too great a period 0f time 0r over too great a geographical area 0r by reason 0f
     their being too extensive in         any other respect, Section        7(d)(i) shall    be modiﬁed t0 be effective for the                maximum period       0f time
     for      may
           Which    it       be enforceable and over the       maximum geographical area as               t0   Which   it   may    be enforceable and      t0 the
     maximum extent in          all   other respects as t0   Which it may be enforceable.

     (e) Publicity.       During the Employment Period, the Executive hereby grants                     t0 the   Company the right t0           use, in a reasonable   and
appropriate manner, the Executive’s           name and   likeness, without additional consideration, 0n, in                   and in connection with technical,
marketing 0r disclosure materials, 0r any combination thereof, published by 0r for the                           Company      0r any 0f its Afﬁliates.


                                                                                 4
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            (t)   Conﬂicting Obligations and Rights. The Executive represents and warrants that she                            is   not subject t0 agreement 0r
     contractual        commitment that prevents 0r          in   any way   limits her ability t0 fully discharge her duties           and responsibilities hereunder and
     that she     is   not in possession 0f any conﬁdential 0r proprietary information 0f another Person that Will be used in connection with the
     discharge 0f her duties hereunder. The Executive acknowledges and agrees that the accuracy 0f the foregoing representation and
     warranty      is   a condition precedent t0 the enforceability 0f the          Company’s     obligations hereunder.

            (g)   Enforcement. The Executive acknowledges that in the event 0f any breach 0f this Section                               7,   the business interests 0f the
     Company and               its   Afﬁliates Will be irreparably injured, the full extent 0f the damages t0 the    Company and its Afﬁliates Will be
     impossible t0 ascertain, monetary damages Will not be an adequate remedy for the                          Company and its Afﬁliates, and the Company Will
                          this Agreement by a temporary, preliminary and/or permanent injunction 0r other equitable relief, without the
     be entitled t0 enforce
     necessity 0f postingbond 0r security, Which the Executive expressly waives. The Executive understands that the Company may
     waive some 0f the requirements expressed in this Agreement, but that such a waiver t0 be effective must be made in writing and
     should not in any way be deemed a waiver 0f the Company’s right t0 enforce any other requirements 0r provisions 0f this
     Agreement. The Executive agrees that each 0f the Executive’s obligations speciﬁed in                              this   Agreement       is   a separate and independent
     covenant and that the unenforceability 0f any 0f them shall not preclude the enforcement 0f any other covenants in                                       this   Agreement.

     8.   Termination 0f Employment. The Executive’s employment hereunder                         may be terminated           during the      Employment Period under the
following circumstances:

            (a)   Death. The Executive’s employment hereunder shall terminate upon the Executive’s death;

            (b)   By the Company. The Company may terminate the                     Executive’s employment          for:


                        (i)    Disability. If the Executive shall   have been substantially unable      t0   perform the Executive’s material duties hereunder
            by reason of illness, physical or mental               disability 0r other similar incapacity,     Which      inability shall continue for         90 consecutive
            days 0r 180 non-consecutive days in any 24-month period and Which qualiﬁed Executive for long term disability coverage
            under applicable              Company    disability plans (a “Disabili;y”);

                        (ii)    Cause. The    Company may terminate       the Executive’s    employment      for   Cause      as   deﬁned    herein; 0r

                        (iii)   Without Cause. The Company          may terminate the      Executive’s employment without Cause at any time upon not less
            than 90 days notice t0 the Executive. The Company’s Non-Renewal 0f the                           Initial   Term    0r the Extended         Term   shall constitute a

            termination 0f the Executive’s employment by the                   Company without      Cause, and the Company’s notice ofNon-Renewal
            pursuant t0 Section 2 hereof shall constitute notice 0f termination without Cause for purposes 0f this Section                                    8(b)(iii).

            Notwithstanding the foregoing, the Company’s Non-Renewal 0f the                        Initial   Term      0r the Extended        Term    shall constitute a

            termination 0f the Executive’s employment by the Company without Cause only if the Company determines                                           that a “separation
            from service” within the meaning 0f Treasury Regulation 1.409A-1(h) has occurred.

                                                                                       5
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        (c)   Executive. The Executive may terminate her employment with 0r without Good Reason upon not less than 90 days
              By the
           Company. The Executive’s Non-Renewal 0f the Initial Term 0r the Extended Term shall constitute a termination 0f
notice t0 the
employment by the Executive without Good Reason, and the Executive’s notice ofNon-Renewal pursuant t0 Section 2 hereof shall
constitute notice 0f the Executive’s termination                   0f her employment for purposes 0f this Section         8(0).      During   this   90-day notice
period, the     Company may,        without breaching this Agreement 0r constituting                Good Reason     0r a Termination without Cause, relieve
the Executive 0f her positions,           titles,   duties     and responsibilities and direct the Executive      t0 cease appearing       0n Company
property. Notwithstanding the foregoing, the Executive’s           Non-Renewal 0f the Initial Term 0r the Extended Term shall constitute a
termination 0f employment by the              Executive without Good Reason only if the Company determines that a “separation from service”
within the meaning of Treasury Regulation 1.409A-1(h) has occurred.

        (d)   Notice 0f Termination.        Any termination          0f the Employment Period, other than pursuant t0 the Executive’s death, shall be
effected
       by       delivery t0 the other party 0f a notice 0f termination (a “Notice 0f Termination”) from the party terminating the
Employment        Period.

        (e)   Other Resignations.        Upon any termination 0f the Executive’s employment, she shall automatically resign, and                           shall

automatically be       deemed      t0   have resigned, from all positions with the Company and its Afﬁliates.

9.   Compensation Upon Termination.

     (a) De_ath. If the Executive’s employment is terminated during the Employment Period as a result 0f the Executive’s death,                                           this

Agreement and the Employment Period shall terminate without further notice 0r any action required by the Company 0r the
Executive’s legal representatives.           Upon the          Executive’s death, the     Company   shall   pay 0r provide the following: (i) the Company
shall   pay   t0 the Executive’s legal representative 0r estate, as applicable, the Executive’s                   Base Salary due through the Executive’s
Date 0f Termination;        (ii)   the   Company       shall   pay   t0 the Executive’s legal representative 0r estate, as applicable, a pro rated portion

(based 0n the percentage 0f the Company’s ﬁscal year preceding the Executive’s Date 0f Termination) 0f the amount equal t0 the
average 0f (x) the annual incentive bonus earned by the Executive for the ﬁscal year immediately preceding the ﬁscal year that
contains the Date 0f Termination and (y) the annual incentive bonus the Executive                           would have received for the ﬁscal year that
contains the Date 0f Termination if her                employment had not been terminated,           as determined  by the Board based 0n the Company’s
performance t0 the Date 0f Termination extrapolated through the end 0f such ﬁscal year; and                            (iii)   the   Company      shall pay, at the      time
when such payments          are due, t0 the Executive’s legal representative 0r estate, as applicable, the                Accrued Beneﬁts and the               rights    0f
the Executive’s legal representative 0r estate with respect t0 any equity 0r equity-related awards shall be governed                                  by the applicable
terms 0f the related plan 0r award agreement. The total amount 0f the pro rated bonus described in clause                                (ii)   0f the preceding
sentence Will be paid in a lump            sum      at the   time the   Company pays      annual incentive bonuses under the Annual Plan to               its   similarly
situated active    employees for the ﬁscal year that contains the Date 0f Termination. Except as                      set forth herein, the          Company      shall

have n0 further obligation t0 the Executive under                     this   Agreement.

                                                                                     6
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     (b) Disability. If the      Company terminates
                                 Executive’s                   the                   employment during the Employment Period because 0f the
Executive’s Disability pursuant t0 Section 8(b)(i),                              Company
                                                                      shall pay t0 the Executive 0r the Executive’s legal representative,
                                                                     (i)   the
as applicable, the Executive’sBase Salary due through the Executive’s Date 0f Termination, (ii) the Company shall pay t0 the
Executive 0r the Executive’s legal representative, as applicable, a pro rated portion (based 0n the percentage 0f the Company’s ﬁscal
year preceding the Executive’s Date 0f Termination) 0f the amount equal t0 the average 0f (x) the annual incentive bonus earned by
the Executive for the ﬁscal year immediately preceding the ﬁscal year that contains the Date 0f Termination and (y) the annual
incentive bonus the Executive         would have received              for the ﬁscal year that contains the   Date 0f Termination   if her   employment had
not been terminated, as determined by the Board based 0n the Company’s performance t0 the Date 0f Termination extrapolated
through the end 0f such ﬁscal year; and          (iii)   the   Company         shall pay t0 the Executive 0r the Executive’s legal representative,        as
applicable, at the time    when such payments            are due, the        Accrued Beneﬁts and the rights 0f the Executive 0r the Executive’s       legal
representative, as applicable, with respect t0          any equity 0r equity-related awards shall be governed by the applicable terms 0f the
related plan 0r     award agreement. The      total    amount 0f the pro rated bonus described in clause (ii) 0f the preceding sentence Will be
paid in a lumpsum at the time the Company pays annual incentive bonuses under the Annual Plan t0 its similarly situated active
employees for the ﬁscal year that contains the Date 0f Termination. Except as set forth herein, the Company shall have n0 further
obligation t0 the Executive under this Agreement.

     (c)   Certain Terminations by the        Company      0r Voluntarily by the Executive. If, during the Employment Period, the Company
terminates the Executive’s        employment     for   Cause 0r the Executive voluntarily terminates her employment other than for Good
Reason, the   Company      shall pay t0 the Executive the Executive’s Base Salary due through the Date 0f Termination and all Accrued

Beneﬁts,   if any, t0   Which the Executive is entitled as 0f the Date 0f Termination, at the time such payments are due, and the
Executive’s rights with respect t0 any equity 0r equity-related awards shall be governed                      by the   applicable terms 0f the related plan 0r
award agreement.

     (d)   Termination by the      Company Other Than For Cause, Death 0r Disabiligyd 0r by the Executive for Good Reason, Prior t0 a
Change 0f Control.      If the   Company terminates the Executive’s employment during the Employment Period other than for Cause and
other than due t0 the Executive’s death 0r Disability, 0r if Executive terminates the Executive’s                      employment during the Employment
Period for   Good Reason,        in either case at   any time other than during the two-year period following a Change 0f Control, then

             (i)   Executive shall be entitled t0 an amount equal t0 1.5 times the Executive’s Base Salary in effect                   at the   Date 0f
     Termination (the “Severance Beneﬁt”). The       amount 0f the Severance Beneﬁt Will be paid in equal,
                                                                 total                                                                ratable installments in
     accordance with the Company’s regular payroll policies over the course 0f the Non-Compete Period;

                                                                                     7
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             (ii)    Executive shall be entitled t0 a pro rated portion (based 0n the percentage 0f the Company’s ﬁscal year preceding the
     Executive’s Date 0f Termination) 0f the annual incentive bonus the Executive would have received for the ﬁscal year that
     contains the Date 0f Termination if her                employment had not been terminated,               as determined      by the Board based 0n the
     Company’s performance              t0 the   Date 0f Termination extrapolated through the end 0f such ﬁscal year. The                    total amount 0f the

     pro rated bonus described in the preceding sentence Will be paid in a lump                             sum   at the   time the   Company pays   annual incentive
     bonuses under the Annual Plan for such ﬁscal year t0                   its   similarly situated active employees;

             (iii)   If the Executive    is   eligible for   and   elects continuation   coverage pursuant t0 COBRA (With respect t0 the Executive
     and/or the Executive’s dependents                who    are eligible t0 elect    COBRA under the Company’s group health p1an(s) as a direct result
     0f the Executive’s termination 0f employment), the                   Company       shall   pay   (as   0f the ﬁrst 0f each applicable month) the premiums
     for such coverage (0r reimburse the Executive for such                   premiums)         until the earlier t0       occur 0f (x) the end 0f the Non-Compete
     Period 0r (y) the date the Executive becomes eligible for coverage under another group health plan;

             (iv)    The Company        shall   pay   t0 the Executive, at the time      when such payments            are due, the    Accrued Beneﬁts; and

             (V)    The   rights   0f the Executive with respect t0 any equity 0r equity-related awards                      shall   be governed by the applicable
     terms 0f the related plan 0r award agreement.

     (e)   Termination by the        Company Other Than For Cause, Death 0r Disabiligyd 0r by the Executive for Good Reason, Following a
Change 0f Control.        If the   Company terminates the Executive’s employment during the Employment Period other than for Cause and
other than due t0 the Executive’s death 0r Disability, 0r if Executive terminates the Executive’s                              employment during the Employment
Period for   Good Reason,          in either case within the       two-year period following a Change 0f Control, then:

          (i) Executive shall be entitled t0 an amount equal t0 (A) 2 times the Executive’s Base Salary in effect at the Date 0f

     Termination plus (B) 2 times the amount equal t0 the average 0f (x) the annual incentive bonus earned by the Executive for the
     ﬁscal year immediately preceding the ﬁscal year that contains the Date 0f Termination and (y) the annual incentive bonus the
     Executive would have received for the ﬁscal year that contains the Date 0f Termination if her employment had not been

     terminated, as determined by the Board based 0n the Company’s performance t0 the Date 0f Termination extrapolated through
     the end 0f such ﬁscal year (the “Change 0f Control Severance Beneﬁt”). The total amount 0f the Change 0f Control Severance
     Beneﬁt Will be paid in a lump sum as soon as administratively practicable following the Date 0f Termination;

                                                                                  8
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             (ii)   Executive shall be entitled t0 a pro rated portion (based 0n the percentage 0f the Company’s ﬁscal year preceding the
       Executive’s Date 0f Termination) 0f the Executive’s target annual incentive bonus under the Annual Plan for the ﬁscal year that
       contains the Date 0f Termination.               The   total   amount 0f the pro rated bonus described          in the preceding sentence Will        be paid in a
       lump sum      at the   time the   Company pays          annual incentive bonuses under the Annual Plan for such ﬁscal year t0                  its   similarly
       situated active employees;

             (ii)   If the Executive      is   eligible for   and    elects continuationcoverage pursuant t0 COBRA (With respect t0 the Executive
       and/or the Executive’s dependents               who    are eligible t0 elect   COBRA under the Company’s group health p1an(s) as a direct result
       0f the Executive’s termination 0f employment), the                   Company      shall   pay   (as   0f the ﬁrst 0f each applicable month) the premiums
       for such coverage (0r reimburse the Executive for such                   premiums)        until the earlier t0   occur 0f (x) the end 0f the Non-Compete
       Period 0r (y) the date the Executive becomes eligible for coverage under another group health plan;

             (iv)   The Company          shall   pay   t0 the Executive, at the time       when such payments        are due, the   Accrued Beneﬁts; and

             (V)    The   rights   0f the Executive with respect t0 any equity 0r equity-related awards                   shall   be governed by the applicable
       terms 0f the related plan 0r award agreement.

     (t) Delay in Payments. Notwithstanding the preceding provisions 0r any provision in this Agreement t0 the contrary,                                      all

payments pursuant hereto (if any) are intended t0 comply with Code Section 409A 0f the Internal Revenue Code 0f 1986,                                         as
amended (the “C0de”) and the guidance thereunder, and this Agreement shall be construed accordingly. T0 the extent that
compliance with Section 409A(a)(2)(B) would require any payment otherwise provided for by this Agreement t0 be delayed for six
months, such payment shall be made as soon as administratively practicable after the end 0f such six-month period.

       (g) Liguidated      Damages. The          parties   acknowledge and agree        that   damages Which       Will result t0 the Executive for termination         by
the   Company 0f the       Executive’s employment shall be extremely difﬁcult 0r impossible t0 establish 0r prove, and agree that the
amounts payable       t0 the Executive (if any)            under Section 9(d) 0r      9(6), as applicable (the     “Severance Payments”) shall constitute
liquidated   damages      for   any such termination.

       (h) Full   Discharge 0f ComDanV Obligations. In the event of any breach 0f this Agreement by the Company, the Executive shall
be entitled t0 the lesser 0f (i) the amount 0f damages incurred by the Executive as a direct result 0f each breach and (ii) the
Severance Payments the Executive would be entitled t0 under Section 9(d) if her employment were terminated thereunder. The
amounts payable       t0 Executive following termination                0f the Employment Period 0r upon any actual 0r constructive termination 0f the
Executive’s employment pursuant t0 this Section 9 shall be in                    full   and complete satisfaction 0f Executive’s          rights   under    this

Agreement and any other claims she may have in respect 0f her employment by the Company 0r any 0f its Afﬁliates, and Executive
acknowledges that such amounts are fair and reasonable, and her sole and exclusive remedy, in lieu 0f all other remedies at law 0r in
equity,   with respect t0 the termination 0f her employment hereunder. Payment 0f any Severance

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Payment pursuant t0 Section 9(d) 0r 9(6), as applicable, shall be conditioned upon (x) Executive’s execution and non-revocation 0f a
release in a form substantively identical in terms t0 the form attached as Exhibit A and (y) Executive’s compliance with the provisions                                      set

forth in Section 7 hereof.

                 (i)   Section 409A. T0 the extent the Executive would be subject t0 the additional                          20% tax imposed 0n certain deferred
        compensation arrangements pursuant t0 Section 409A 0f the Code as a result 0f any provision 0f this Agreement, such provision
        shall   be deemed amended t0 the            minimum      extent necessary t0 avoid application 0f such tax and the parties shall promptly execute
        any amendment reasonably necessary t0 implement                      this Section 9(i).


        10. (Intentionally left         blank)


        11.    Notices. A11 notices, demands, requests, 0r other communications                          Which may be 0r are required t0 be given 0r made by any party
t0   any other party pursuant t0          this   Agreement     shall   be in writing and        shall   be hand delivered, mailed by ﬁrst-class registered 0r certiﬁed
mail, return receipt requested, postage prepaid, delivered                  by overnight             air courier, 0r transmitted     by facsimile transmission addressed    as
follows:

        (i)     If to the   Company,      t0:


                Biomet, Inc.
                 56 E. Bell Drive
                P.O.    Box 587
                Warsaw, Indiana 4658 1 -0587

                Attn: Chief Legal Ofﬁcer
                Facsimile Number: (574) 267-8 137

        (ii)    If t0 the Executive, t0 the address last          shown 0n       the   Company’s Records.

        Each party may designate by notice in writing a new address t0 Which any notice, demand, request 0r communication may thereafter
be so given, served 0r  sent. Each notice, demand, request, 0r communication that shall be given 0r made in the manner described above

shall   be deemed sufﬁciently given 0r made for                 all   purposes   at    such time as      it is   delivered t0 the addressee (With the return receipt, the
delivery receipt, conﬁrmation 0f facsimile transmission 0r the afﬁdavit 0f messenger being                                   deemed conclusive but not exclusive evidence
0f such delivery) 0r         at   such time as delivery   is   refused by the addressee upon presentation.


        12. Severabiligy.         The   invalidity 0r unenforceability 0f any           one 0r more provisions 0f this Agreement              shall not affect the validity 0r

enforceability 0f the other provisions 0f this Agreement,                   Which       shall   remain     in full force   and   effect.


        13. Effect      0n Other Agreements. The provisions 0f this Agreement                          shall supersede the    terms 0f any plan, policy, agreement, award 0r
other arrangement 0f the            Company (Whether entered            into before 0r after the Effective Date) t0 the extent application               0f the terms 0f this
Agreement        is    more favorable     t0 the Executive.


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        14. Survival. It is the express intention      and agreement 0fthe parties hereto that the provisions 0f Sections                    7, 9, 11, 12, 13, 14, 15, 16,

17, 19, 20,     22 and 23 hereof shall survive the termination 0f employment 0f the Executive.

        15.   Assignment. The rights and obligations 0f the parties t0            this    Agreement   shall not       be assignable 0r delegable, except that     (i)   in the

event 0f the Executive’s death, the personal representative 0r legatees 0r distributees 0f the Executive’s estate, as the case                          may    be, shall
have the right     t0 receive   any amount owing and unpaid t0 the Executive hereunder and                     (ii)   the rights and obligations 0f the  Company
hereunder shall be assignable and delegable in connection with any subsequent merger, consolidation, sale 0f all 0r substantially                                all    0f the
assets 0r equity interests 0f the     Company 0r similar transaction            involving the     Company                               The Company shall
                                                                                                               0r a successor corporation.
require any successor t0 the        Company t0 expressly assume and             agree t0 perform this        Agreement in the same manner and t0 the same
extent that the    Company would be        required t0 perform    it   if n0   such succession had taken place.

        16.   Binding Effect. Subject t0 any provisions hereof restricting assignment,                this   Agreement       shall   be binding upon the parties hereto
and   shall inure t0 the   beneﬁt 0f the parties and their respective          heirs, devisees, executors, administrators, legal representatives, successors

and assigns.

        17.   Amendment     Waiver. This Agreement shall not be amended, altered 0r modiﬁed except by an instrument in writing duly
executed by the party against        Whom enforcement is       sought. Neither the waiver          by   either   0f the parties hereto 0f a breach 0f 0r a default
under any 0f the provisions 0f this Agreement, nor the            failure      0f either 0f the   parties,   0n one 0r more occasions,        t0 enforce   any 0f the
provisions of this Agreement 0r t0 exercise any right 0r privilege hereunder, shall thereafter be construed as a waiver 0f any subsequent
breach 0r default 0f a similar nature, 0r as a waiver 0f any such provisions, rights 0r privileges hereunder.

        18.   Headings. Section and subsection headings contained in               this   Agreement     are inserted for convenience 0f reference only, shall not
be deemed t0 be a part 0f this Agreement for any purpose, and                   shall not in   any way deﬁne 0r         affect the   meaning, construction 0r scope 0f
any 0f the provisions hereof.

      19. Governing Law. This Agreement, the rights and obligations 0f the parties hereto, and any claims 0r disputes relating thereto,

shall be governed by and construed in accordance with the laws 0f the State 0f Indiana (but not including any choice 0f law rule thereof
that would cause the laws 0f another jurisdiction t0 apply). Except as otherwise provided in Section 7(g), each 0f the parties agrees that

any dispute between the         parties shall   be resolved only in the courts 0f the State 0f Indiana 0r the United States District Court for the
Northern District 0f Indiana and the appellate courts having jurisdiction 0f appeals in such courts. In that context, and without limiting the
generality 0f the foregoing (but subject t0 Section 7(g)), each 0f the parties hereto irrevocably and unconditionally (a) submits for
himself/herself or itself in any proceeding relating t0 this           Agreement 0r Executive’s employment by the Company 0r any 0f its Afﬁliates,
0r for the recognition and enforcement 0f any judgment in respect thereof (a “Proceeding”), t0 the exclusive jurisdiction 0f the courts 0f
the State 0f Indiana, the court 0f the United States 0f America for the Northern District 0f Indiana, and appellate courts having jurisdiction
0f appeals from any 0f the foregoing, and agrees that           all    claims in respect 0f any such Proceeding shall be

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heard and determined in such Indiana State court                 0r, t0   the extent permitted      by   law, in such federal court; (b) consents that         any such
Proceeding     may and     shall   be brought in such courts and waives any objection that he/she 0r                    it   may now 0r thereafter have t0 the venue           0r
jurisdiction 0f any such Proceeding in              any such court 0r                         was brought in an inconvenient court and agrees not t0 plead
                                                                           that such Proceeding
0r claim the same; (c) waives      all right t0 trial by jury in          any Proceeding (Whether based 0n contract, tort 0r otherwise) arising out 0f 0r
relating t0 this      Agreement 0r Executive’s employment by the Company 0r any 0f its Afﬁliates, 0r her, 0r                            its,   performance under 0r the
enforcement 0f this Agreement; (d) agrees that service 0f process in any such Proceeding may be effected by mailing a copy 0f such
process by registered 0r certiﬁed mail (0r any substantially similar form 0f mail), postage prepaid, t0 such party at her, 0r its, address as
provided in Section        11;   and   (e)   agrees that nothing in this Agreement shall affect the right t0 effect service 0f process in any other                     manner
permitted by the laws 0f the State 0f Indiana.


        20. Entire Agreement. This            Agreement      constitutes the entire agreement        between the      parties respecting the      employment 0f the
Executive and supersedes           all   other agreements and understandings.


        21. Countegparts. This          Agreement may be executed           in   two counterparts, each 0f Which         shall   be an original and   all   0f Which   shall   be
deemed     t0 constitute    one and the same instrument.

        22. Withholding.         The Company may withhold from any beneﬁt payment under this Agreement                              all federal, state, city   0r other taxes as
shall   be required pursuant       t0    any law 0r governmental regulation 0r            ruling.


        23. Deﬁnitions.


               “Accrued Beneﬁts” means              (i)(A)   any vested compensation deferred by the Executive prior                 t0 the    Date 0f Termination and not
paid by the Company; (B) any amounts 0r beneﬁts owing t0 the Executive 0r t0 the Executive’s beneﬁciaries under the then applicable
beneﬁt plans 0f the Company; and (C) any amounts owing t0 the Executive for reimbursement 0f expenses properly incurred by the
Executive prior t0 the Date 0f Termination and Which are reimbursable in accordance with Section 6; and (ii) if the Executive’s
employment       is                   Employment Period (A) other than by the Company for Cause and other than by the Executive
                      terminated during the
without   Good Reason and                  Company’s payment t0 her 0f her an annual incentive bonus, if any, under the Annual Plan for
                                    (B) prior t0 the
the   ﬁscal year immediately preceding the ﬁscal year that contains the Date 0f Termination, the amount 0f such annual incentive bonus.

               “Afﬁliate” means, with respect t0 any entity, any other corporation, organization, association, partnership, sole proprietorship
0r other type 0f entity, whether incorporated 0r unincorporated, directly 0r indirectly controlling 0r controlled by 0r under direct 0r indirect
common      control with such entity, provided that            none 0f the Majority Stockholders             shall   be deemed t0 be an Afﬁliate 0f the Company for
purposes 0f this Agreement solely by reason 0f its ownership interest in the Company, and provided further that n0 company that                                        is   wholly
0r partially   owned by any Majority Stockholder                shall   be deemed    t0   be an Afﬁliate 0f the Company solely by reason 0f such Majority
Stockholder’s ownership interest therein.

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            “Board”     means   the   Board 0f Directors 0f the Company.

              “m,” when used in connection with a termination 0f the Executive’s employment, shall mean, unless otherwise provided in
any applicable equity award grant agreement entered into between the                        Company and the Executive with respect t0 any equity awards that
may    be granted   t0 the Executive, the termination            0f the Executive’s employment with the      Company and all 0f its Afﬁliates 0n account 0f
(i)   a failure 0f the Executive t0 substantially perform her duties (other than as a result 0f physical 0r mental illness 0r injury) that has
continued after the    Company has provided written notice 0f such                  failure   and the Executive has not cured such          failure within       30 days 0f the
date 0f such written notice, provided that a failure t0 meet ﬁnancial performance expectations shall not,                       by    itself,    constitute a failure        by the
Executive t0 substantially perform her duties;            (ii)   the Executive’s willful misconduct 0r gross negligence;            (iii)   a willful or grossly
negligent breach     by a Executive 0f the Executive’s ﬁduciary duty 0r duty 0f loyalty                  t0 the   Company    0r any 0f its Afﬁliates; (iv) the
commission by the Executive 0f any felony 0r other serious crime involving moral turpitude; (V) a material breach 0f the Executive’s
obligations under any agreement entered into between the Executive and the Company 0r any 0f its Afﬁliates, which, if such breach is
reasonably susceptible t0 cure, has continued after the               Company has provided written notice 0f such breach and the Executive                         has not
cured such failure within 30 days 0f the date 0f such written notice; 0r                    (Vii) a material breach 0f the   Company’s written           policies 0r
procedures that have been communicated t0 the Executive and that causes material harm t0 the                          Company       0r   its   business reputation.

                                      ”
              “Change 0f Contro           shall   mean the occurrence 0f any 0f the           following events after the Effective Date:          (i)   any   sale, lease,

exchange 0r other transfer      (in   one transaction 0r a        series   0f related transactions) 0f all 0r substantially   all   0f the assets 0f the        LVB
Acquisition, Inc. 0n a consolidated basis t0 any Person 0r group 0f related persons for purposes 0f Section 13(d) 0f the Securities
Exchange Act 0f 1934, as amended (a “Group”), together with any Afﬁliates thereof other than t0 a Majority Stockholder; (ii) the approval
by the holders 0f the outstanding voting power 0f LVB Acquisition, Inc. 0f any plan 0r proposal for the liquidation 0r dissolution of LVB
Acquisition, Inc.; (iii) (A) any Person 0r Group (other than the Majority Stockholder) shall become the beneﬁcial owner (within the
meaning 0f Section 13(d) 0f the Securities Exchange Act 0f 1934, as amended), directly 0r indirectly, 0f common stock 0f either the
Company 0r LVB Acquisition, Inc. (0r any intermediary entity between the Company and LVB Acquisition, Inc.) representing more than
40% 0f the aggregate outstanding voting power 0f the Company, LVB Acquisition, Inc. 0r such intermediary entity, as applicable, and
such Person 0r Group actually has the power t0 vote such common stock in any such election and (B) the Majority Stockholder
beneﬁcially owns (within the meaning 0f Section 13(d) 0fthe Securities Exchange Act 0f 1934, as amended), directly 0r indirectly, in the
aggregate a lesser percentage 0f the voting power 0f the Company 0r LVB Acquisition, Inc. (0r any intermediary entity between the
Company and LVB Acquisition, Inc.), as applicable, than such other Person 0r Group; (iv) the replacement 0f a majority 0f the Board over
a two-year period from the directors who constituted the Board at the beginning 0f such period, and such replacement shall not have been
approved by a vote 0f at least a majority 0f the Board then still in ofﬁce who either were members 0f such Board at the beginning of such
period 0r whose election as a member 0f such Board was previously so approved 0r who were nominated by, 0r designees 0f, a Majority

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Stockholder; (V) consummation 0f a merger 0r consolidation 0f the                              LVB      Acquisition, Inc. with another entity in     which holders of the
common     stock 0f LVB Acquisition, Inc. immediately prior t0 the consummation 0f the transaction hold, directly 0r indirectly, immediately
following the consummation 0f the transaction, less than                        50%     0f the     common      equity interest in the surviving corporation in such
transaction and the Majority Stockholder does not hold a sufﬁcient                             amount 0f voting power          (0r similar securities) t0 elect a majority 0f the
surviving entity’s board 0f directors 0r (Vi) a merger, recapitalization 0r other direct 0r indirect sale                               by the Majority Stockholder (including
through a public offering) 0f common stock 0f LVB Acquisition, Inc. that results in more than                                     80%   0f the   common   stock of LVB
Acquisition, Inc. (0r any resulting        company after a merger) owned, directly 0r indirectly, by the Majority Stockholder immediately
following the Closing,          n0 longer being so owned by the Majority Stockholder. For purposes 0f the preceding sentence, “Closing” shall
mean the   closing 0f the merger 0f the             Company with LVB             Acquisition Merger Sub, Inc. pursuant t0 the Merger Agreement.


           “ComDanV Conﬁdential Information” means information known t0 the Executive t0 constitute trade secrets 0r proprietary
information belonging t0 the Company 0r other Company conﬁdential ﬁnancial information, operating budgets, strategic plans 0r research
methods, personnel data, projects 0r plans, 0r non-public information regarding the Company 0r any Afﬁliate of the Company, in each
case, received by the Executive in the course 0f her employment by the Company 0r in connection with her duties with the Company.


             “Date of Termination” means               (i) if   the Executive’s         employment        is   terminated by the Executive’s death, the date 0f the
Executive’s death;         (ii) if   the Executive’s   employment         is   terminated because 0f the Executive’s Disability pursuant t0 Section 8(b)(i),
30 days   after   Notice 0f Termination, provided that the Executive shall not have returned t0 the performance 0f the Executive’s duties 0n a
full-time basis during such 30-day period; 0r                (iii)   if the    Executive’s employment             is   terminated for any reason other than the Executive’s
death 0r Disability, the date speciﬁed in the Notice 0f Termination, Which in the case 0f a termination 0f employment by the Executive
may not be   less    than 90 days following the date the notice                  is   provided.


             “Extended Term”             shall   have the meaning       set forth in        Section 2.

             “Good Reason”             shall   mean, unless otherwise provided                in   any applicable equity award grant agreement entered between the
Company     0r    LVB     Acquisition, Inc. and the Executive with respect t0 any equity awards that                       may be granted t0 the Executive, the
occurrence 0f the following without the Executive’s consent                           (i)   a material diminution in the Executive’s duties and responsibilities as 0f
the Effective Date, other than a change in such Executive’s duties and responsibilities that results from                                  becoming   part 0f a larger
organization following a             Change    in Control;   (ii)   a decrease in a Executive’s base salary 0r bonus opportunity as 0f the Effective Date,
other than a decrease in base salary 0r bonus opportunity that applies t0 a similarly situated class 0f employees 0f the                                   Company      0r   its

Afﬁliates; or     (iii)   a relocation 0f a Executive’s primary               work    location      more than 50 miles from       the Executive’s   work   location   0n the
Effective Date, without the Executive’s prior written consent; provided that, within thirty days following the occurrence 0f any 0f the
                                                                             Company 0f her intention t0 terminate her employment for
events set forth herein, the Executive shall have delivered written notice t0 the
Good Reason, Which notice speciﬁes in reasonable detail the circumstances claimed t0 give rise t0 the Executive’s right t0 terminate
employment for Good Reason, and neither the Company nor LVB Acquisition, Inc. shall not have cured such circumstances within thirty
days following the Company’s receipt 0f such notice.

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             “Majority Stockholder,” for purposes 0f this Agreement, shall mean, collectively 0r individually as the context requires,
Blackstone Group,    L.P.,   The Goldman Sachs Group,        Inc.,   Kohlberg KraVis Roberts    & C0., TPG Capital, L.P. and their respective
Afﬁliates.

                                    ”
             “Non-Compete Perio         means   the period   commencing 0n the     Effective Date and ending eighteen (18)                months   after the earlier

of the expiration 0f the Employment Period 0r the Executive’s Date 0f Termination.

             “Person” means an individual, partnership, corporation, limited        liability   company, unincorporated organization,               trust 0r joint

venture, 0r a governmental agency 0r political subdivision thereof.


     IN WITNESS WHEREOF,            the undersigned have duly executed and delivered this Agreement, 0r have caused this                       Agreement      t0   be
duly executed and delivered 0n their behalf.


                                                                                                BIOMET, INC.

                                                                                                By:      /s/   Bradley       J.   Tandy
                                                                                                Name: Bradley          J.   Tandy
                                                                                                Title:   Senior Vice President,
                                                                                                         General Counsel and Secretary


                                                                                                EXECUTIVE

                                                                                                         /s/   Robin    T.    Barney
                                                                                                Name: Robin       T.    Barney

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                                    EXHIBIT A TO EMPLOYMENT AGREEMENT

                                                                                    EXHIBIT A

                                                                       RELEASE OF ALL CLAIMS
                This Release of A11 Claims (“Release”) has been signed by Robin Barney (“Executive”) 0n the date indicated below.


                                                                                    Background

        A. The Executive and Biomet, Inc. (“Company”) previously entered into an Employment Agreement, dated September                                                2,   2008
(“Agreement”), Which provides for the payment 0f beneﬁts t0 the Executive under certain circumstances following her termination 0f
employment.

        B.   The Executive’s employment with                the   Company terminated/will       terminate 0n                                   ,
                                                                                                                                                   thereby entitling her t0
payments under the Agreement, subject                  t0 the terms thereof.


        C.   The Company’s          obligations under the         Agreement   are contingent    0n the Executive signing and providing                this   Release t0 the
Company within             21 days after receiving     it   and allowing   this   Release t0 become effective as provided herein.

        D.   As    a condition 0f receiving beneﬁts under the Agreement, the Executive wishes t0 sign this Release.


        In consideration 0f the premises and for other valuable consideration, the receipt and sufﬁciency 0f Which are hereby acknowledged,
the Executive agrees as follows:


        1.   If the Executive       (i)   signs and dates this Release and submits       it   t0 the   Company not      later   than 21 days after     it is   provided t0 the
Executive,        (ii)   complies with the other requirements 0f this Release and the Agreement,                   (iii)   and does not provide written revocation 0f
this   Agreement         t0 the   Company within the seven-day revocation period referred t0                in   Paragraph      8,   the   Company    shall    make   the payments
and pay the beneﬁts required by the Agreement.

        2.   In consideration 0f the         Company’s payment        obligations under this Agreement, the Executive releases and forever discharges the
Company,       all   0f its past and/or present divisions, Afﬁliates, ofﬁcers, directors, shareholders, partners, trustees, employees, agents,
representatives, administrators, attorneys, insurers, ﬁduciaries, successors,                     and assigns,    in their individual and/or representative capacities

(hereinafter collectively referred t0 as “Employer”),from any and all causes 0f action, suits, agreements, promises, damages, disputes,
controversies, contentions, differences, judgments, claims, and demands 0f any kind whatsoever, including any claims based 0n
allegations 0f wrongful discharge, and/or breach 0f contract (“Claims”) that the Executive and/or her heirs, executors, administrators,
successors, and assigns has 0r              may have   ever had, has 0r    may now have,        0r   may have    against the     Employer by reason 0f the Executive’s
employment 0r before the date 0n Which the Executive signed                        this Release, other    than   (i)   a Claim that the


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Company has           pay the Executive the payment described in 0r contemplated by the Agreement 0r has otherwise breached the terms
                   failed t0
0f the Agreement, 0r    a Claim that the Company has failed t0 pay the Executive any vested beneﬁts t0 Which the Executive is entitled
                             (ii)

under a plan 0r program 0f the Company (collectively, “Excluded Claims”). The Executive gives this Release regardless 0f whether the
Claims are known 0r unknown. Such released Claims include, without limitation, any and all Claims under Title VII of the Civil Rights
Act 0f 1964, the Age Discrimination in Employment Act 0f 1967, the Civil Rights Act 0f 1871, the Civil Rights Act 0f 1991, the Fair
Labor Standards Act, the Employee Retirement Income Security Act 0f 1974, the Americans with Disabilities Act, the Family and
Medical Leave Act 0f 1993,             all   as   amended, and any and all other applicable federal, state 0r local laws, statutes, rules, and regulations
pertaining t0 employment, as well as any and                all Clams under state contract 0r tort law including, but not limited, t0 those based 0n

allegations 0f wrongful discharge, breach 0f contract, promissory estoppel, defamation,                         and inﬂiction 0f emotional           distress.    The Executive
also agrees that her rights under the aforementioned statutes 0r                any other federal, state, 0r local law, rule 0r regulation are effectively
waived by this Agreement. For purposes 0f this                    Agreement, the term “Afﬁliates” means any other entity that, directly 0r indirectly,
controls,   is   controlled by, 0r     is   under   common control With, Biomet and           all   employee beneﬁt plans (and ﬁduciaries 0f such plans)
sponsored by any 0f such            entities.


     3.   The Executive agrees              that if this Release is ever held t0     be invalid 0r unenforceable        (in   Whole 0r    in part) as t0    any particular type
0f claim 0r as t0 any particular circumstance,               it   shall   remain fully valid and enforceable as t0          all   other claims and circumstances.


    4. The Executive represents that she has not ﬁled, and Will not hereafter ﬁle, any lawsuit against the Employer relating t0 her

employment and/or cessation 0f employment with the Employer, 0r otherwise involving facts that occurred 0n 0r before the date 0n Which
she signed this Release, other than with respect t0 any Excluded Claims.


     5.   The Executive understands and agrees                that if he/she     commences, continues, joins          in,   0r in any other   manner attempts      t0 assert   any
lawsuit released herein against the Employer, 0r otherwise violates the terms 0f this Release, he/she shall be required t0 return                                   all

payments paid       t0 her   by the Company pursuant              t0 the   Agreement (together with      interest thereon),        and he/she agrees   t0   reimburse the
employer for       all   attorneys’ feesand expenses incurred by Employer in defending against such a lawsuit, provided that the right t0 receive
such payments        is   without prejudice t0 the Employer’s other rights hereunder, including any release 0f any and all Claims (other than the
Excluded Claims) against the Employer.

     6.   The Executive understands and agrees                that the      Company’s payments t0 her and the signing 0f this Release d0 not in any way
indicate that he/she has any Viable Claims against the                     Employer 0r that the Employer admits any liability t0 her whatsoever.

     7.   In signing this Agreement, the Executive warrants that, t0 the extent that he/she                      is   aware 0f any potential 0r suspected Violations
0f Biomet’s Code 0f Business Conduct and Ethics, Fraud and Abuse Compliance Policies, and Anti-Corruption Policy (collectively
Biomet’s “Business Ethics Policies”) and other applicable laws, including the Federal Anti-Kickback Statute, the False Claims Act, and
the Stark laws, the Executive has reported such potential 0r suspected Violations t0 the appropriate personnel 0f Employer.


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       8.   As   part 0f the consideration being provided t0 Executive under this Release                         and the Agreement, the employer expects Executive            t0
make herself reasonably available t0 Employer and/or its legal counsel and other designated representatives 0r                                     agents through the twelve
(12) month period following the execution 0f this Release. As a result, the Executive agrees t0 the following:

                 a.   Respond t0 the best 0f Executive’s ability t0 reasonable inquiries from Employer concerning ongoing matters within
       executive’s       knowledge and/or former area 0f responsibility and t0 assist Employer in transitioning those matters t0 other personnel;
       and

                 b.   T0   fully cooperate    with Employer and/or         its   legal counsel   and other designated representatives 0r agents           in providing
       information in connection with threatened, pending 0r future investigations 0r litigation, including giving depositions and appearing
       for live interviews         and proceedings. The Employer             shall   be responsible t0 pay Executive, outside 0f the payment set forth in the
       Agreement,           (after the   submission 0f a written expense report) for          all out-of-pocket expenses for travel, lodging, meals and related

       expenses incurred by Executive in providing the services contemplated in                              this Section 8.b.   Such   travel   and services must be
       speciﬁcally requested             by employer;

       9.   Executive agrees not t0           make any   statement, Which a reasonable person would consider disparaging t0 Employer 0r its Afﬁliates
and   their ofﬁcers, directors 0r employees.             The provisions 0f this paragraph shall remain in full force and effect for one year from the
execution 0f this Release.


       10.    The Executive        shall continue t0    be entitled t0 any rights t0 indemniﬁcation under the Company’s directors and ofﬁcers liability
insurance, Articles 0f Incorporation and               Bylaws with respect t0 any claims relating t0 the Executive’s employment with Employer.

       11.    The Executive has read this Release           carefully, has        been given     at least   21 days t0 consider   all   0f its terms, has been advised t0
consult with an attorney and any other advisors 0f her choice, and fully understands that                             by signing below she is giving up any right that
she   may have t0          sue 0r bring any Claims (other than the Excluded Claims) against the                     Employer. The Executive has not been forced 0r
pressured in any manner whatsoever t0 sign this Release, and she agrees t0                           all    0f its terms voluntarily.

       12.    The Executive understands            that she has seven days         from the date 0n Which she signed          this   Release below t0 revoke this Release
by   notifying the         Company       0f her revocation, that   this   Release Will not become effective until the eighth day following the date 0n Which
she has signed this Release, and that if she revokes this Release within such period, the Agreement shall be void. Further, if Executive
revokes      this     Release within the seven-day revocation period, then Executive shall be obligated t0 pay t0 Employer any gain realized from
the exercise 0f stock options that have been accelerated pursuant t0 the terms 0f the Agreement. “Gain realized” shall be calculated based
on the market price 0f Biomet               Common     Shares as 0f close 0f business 0n the date 0f exercise.

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       13.   The Executive understands and agrees   that this Release Will   be governed by the internal laws 0f the State 0f Indiana, without
regard t0 conﬂict 0f law principles, t0 the extent not preempted by federal law.




Date                                                                             Signature


                                                                                 Robin   T.   Barney
                                                                                 Printed   Name

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EX-10.18.1
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                  d391097dex10181.htm EX-10.18.1
                                                                                                                                                                         Exhibit 10.18.1

                                                    FIRST          AMENDMENT TO EMPLOYMENT AGREEMENT
      This First      Amendment to Employment Agreement                        (the   “Amendment”)   is   made this     3 lst     day 0f December 2008 between                 BIOMET,
INC., an Indiana corporation (“Biomet”), and Robin                       T.   Barney (“Executive”). A11 capitalized terms used herein shall have the meanings
ascribed t0      them   in the   Employment Agreement (deﬁned below), unless otherwise deﬁned                               herein.


    WHEREAS, Biomet and Executive entered                             into that certain   Employment Agreement dated                 as 0f      September   2,   2008   (the
“Employment Agreement”); and

      WHEREAS,           Biomet and Executive            desire t0     amend the Employment Agreement 0n the terms and                           conditions set forth herein;


      NOW, THEREFORE,                     in consideration        0f the mutual covenants contained herein and other good and valuable consideration, the
receipt and sufﬁciency 0f Which are hereby acknowledged,                          Biomet and Executive hereby agree                as follows:


      1.   Section    91 e):   Termination by the       Company Other Than For Cause, Death                                  by the Executive for Good Reason,
                                                                                                               0r Disabiligyd 0r
Following a Change 0f Control. Section                  9(e)(i)     0f the Employment Agreement           is   hereby amended t0 delete the ﬁnal sentence 0f

Section 9(e)(i) in      its    entirety   and replace   it   with the following:

      “The       amount 0f the Change 0f Control Severance Beneﬁt Will be paid: (1) if the Change in Control constitutes a change in
              total

      control event within the meaning 0f Treasury Regulation 1.409A-3(i)(5), in a lump sum as soon as administratively practicable (but
      in n0 event later than 30 days) following the Date 0f Termination 0r (2) if the Change 0f Control does not constitute a change in

      control event within the meaning 0f Treasury Regulation 1.409A-3(i)(5), in equal, ratable installments in accordance with the
      Company’s regular payroll policies over the course 0f the Non-Compete Period.”

      2.   Miscellaneous. Except as expressly                 modiﬁed by this Amendment, the Employment Agreement shall remain in full force and
effect.   This   Amendment may be executed                   intwo (2) 0r more counterparts, each 0f Which shall be deemed t0 be an original, but all 0f
Which together        shall constitute       one and the      same instrument.

      IN WITNESS WHEREOF,                      the undersigned have executed this First         Amendment t0 Employment Agreement 0n the                                date ﬁrst set
forth above.


                                                                                                                BIOMET, INC.

                                                                                                                By:   /s/   Bradley       J.   Tandy
                                                                                                                      Bradley       J.   Tandy
                                                                                                                      Senior Vice President,
                                                                                                                      General Counsel             & Secretary
                                                                                                                EXECUTIVE

                                                                                                                            /s/   Robin    T.   Barney
                                                                                                                Name: Robin          T.   Barney
